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Page 1

1 UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

3 ELAINE LEVINS and WILLIAM
LEVINS, on behalf of

4 themselves and others
similarly situated,

Plaintiffs,

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)
Vs ) DEPOSITION OF:

7 ) DAVID M. FRIEDLANDER
)
)
)
)
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)
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)

 

HEALTHCARE REVENUE RECOVERY

8 GROUP, LLC d/b/a ARS ACCOUNT
RESOLUTION SERVICES, and

9 JOHN AND JANE DOES 1 THROUGH
25,

10

 

Defendants.
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16 TRANSCRIPT of the stenographic notes of |
17 | the proceedings in the above-entitled matter, as |
18 taken by and before KATHLEEN SWENOR, a Registered |
19 Professional Reporter, Certified Court Reporter |
| and a Notary Public of the State of New Jersey, |
21 | held at the offices of MARKS O'NEILL O'BRIEN

}

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|

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22 DOHERTY & KELLY, PC, 535 Route 38 East, Cherry

23 Hill, New Jersey on October 24, 2019, commencing |

24 at 10:00 in the morning. |

25 | |
|

- EXHIBIT

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800-227-8440

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- David Friedlander -
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A. I'm not sure. I believe its contract 1 letters are going to refer to the longer version,
is between HRRG and Nordis. 2 right; for whatever reason, convenience, save

Q. Is the contract between ARS and Nordis? 3 space, right, it doesn't matter?

A. No. 4 A. Yeah, it's like a short form.

Q. Refer -- I know it's somewhat small, 5 Q. Exactly. It's a short form. Agreed.
the first line in the body of the letter. It's 6 And | agree to that extent that your example of
actually the first sentence. I'll read it. It 7 HRRG is correct that it's a short form of doing
says, "The healthcare creditors," and it has the 8 it. I understand that's why it's there.
letter S in parenthesis, "shown below hired ARS 9 It's probably a good time to go back to

10
ll

Account Resolution Services," then an open paren,
ARS, close paren, "to collect the balance due."

Do you see that? 12

A. Yes. i)

Q. Who is ARS Account Resolution Services? | 14
A. ARS is a business unit, a division of 15
HRRG. 16
Q. I want to be specific here because the 17

letters ARS in parenthesis right after ARS Account | 18

Resolution Services -- 19
A. Yes. 20
Q. -- signals that the letters "ARS" are 21

going to be used in this letter to refer to ARS 22

 

Account Resolution Services; correct? 23
MR. SCHEUERMAN: You are talking about | 24
the first sentence in ARS4, to clarify? | 25

D-1 now. Because the second item on D-1 is
alternate name; do you see that?

A. Yes.

Q. And do you see that J had put there ARS
Account Resolution Services; do you see that?

A. Yes.

Q. And if you want in D-2 you can go back
to page 3, you'll see at paragraph 3 on page 3 it
refers to alternate name and says ARS Account
Resolution Services; do you see that?

A. Yes.

Q. And Ihave copied and pasted that page
3 paragraph 3 onto D-1; do you see that?

A. Yes.

Q. Do you have an understanding of what's
meant by an alternate name in the context of

 

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MR. STERN: Who are you clarifying it 1

for? 2
MR. SCHEUERMAN: To me. 3

MR. STERN: If he doesn't understand 4

the question he can ask me. It's tmproper 5
for you to be signaling to the witness 6
there's something he should be cautious about 7
my question. | 8
MR. SCHEUERMAN: It wasn't any typeof | 9
signal. 10

A. The use of ARS in parenthesis in that 11
first line of the first sentence in this letter is 12
just to clarify in the remainder of the text of 13
the letter that we may use just the initials ARS 14
to mean ARS Account Resolution Services. 15
Q. Right. 16

A. In much the same way as when you say, 17
you are referring to HRRG rather than saying 18
Healthcare Revenue Recovery Group, you would just} 19

use HRRG.

Q. lunderstand. I think there's a subtle 21
difference that we don't need to get into right 22
now between -- even though it's subtle it may be 23
very significant between the two examples. But | 24
yes, | agree that it's a signal that these three | 25

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ARS03, the document -- that document?

A. I'mnot sure J do.

Q. If] were to say to you that ARSO3 is a
document that is filed with the State of New
Jersey that is a public record that identifies
that the name ARS Account Resolution Services is a
name that will be used to identify Healthcare
Revenue Recovery Group, LLC, does that refresh
your recollection at all in terms of what --

MR. SCHEUERMAN: Object to form.
Counsel is testifying as to the document, not
pointing to any facts in the record to
support what he just said.

MR. STERN: Object to the form, that's
fine.

A. The question again that you are asking

 

is?

Q. I'm trying to see if 1 can refresh your
recollection with information about -- let me say
this, my understanding from materials that your
counsel has submitted to in this case --

MR. SCHEUERMAN: What materials?
MR. STERN: Excuse me?
MR. SCHEUERMAN: Objection to form.

He's misstating evidence,

14 (Pages 50 - 53)

 

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- David Friedlander -

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defendant as an abbreviation of ARS Account 1 MR. STERN: I don't understand what |
Resolution Services. ARS Account Resolution | 2 your problem is.

Services is the alternate name as shown on 3 MR. SCHEUERMAN: Your question that you
ARSO3. So all that says is abbreviation of 4 asked him, it was unclear what you meant by
alternate name ARS. So there's no two 5 alternate name. So maybe you can walk him
alternate names on here. There is an 6 through that.
alternate name and the abbreviation of th MR. STERN: If he doesn't understand
alternate name. He already said ARS is a 8 the question, and I have no problem giving
shortened form of or short name or a 9 the instruction again. The witness seems to
shortening of ARS Account Resolution 10 have no problem if I'm not accurately stating
Services. 1] something of telling me that or saying it's

MR. SCHEUERMAN: The question was | 12 not clear or he doesn't understand. If he
confusing because it was unclear what you 13 doesn't understand it's not for you to raise
were referring to when you said the alternate 14 —_an objection to signal to him to say he
name. Moreover -- 15 doesn't understand.

MR. STERN: If the question is 16 MR. SCHEUERMAN: I have to raise an
confusing it's not for you to identify it as 17 objection if it's a bad question.
confusing. 18 MR. STERN: You can object to form. If

MR. SCHEUERMAN: It's an objection. |19 I want to rephrase it I may ask you to
And] said ambiguous. I have to make that 20 explain why -- what the problem with the form
objection or it's waived. {21 is. But you have preserved your objection by

MR. STERN: You can make an objection 22

as to form. 23
MR. SCHEUERMAN: I didn't tell him not | 24
to answer. | made a form objection. 25

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MR. STERN: I didn't say that. When 1
you say it's ambiguous or confusing to you, 2
it signals to the witness that the witness 3
should be careful that -- the witness may not 4
think it's ambiguous. The witness may think | 5
it's crystal clear. But now the witness's 6
counsel told him, Look out, that question is 7
ambiguous. 8

MR. SCHEUERMAN: Under the rules] have] 9
to say the basis for the form objection to 110
give you an opportunity to amend it. 1

MR. STERN: Not unless I ask you for 12
it. You also cannot, as I read in the 13
guidelines from Hall versus Clifton, you 14
cannot give objections which signal to the 15
witness anything about responding to the 16
question. 17

MR. SCHEUERMAN: It didn't. All I said 18
was the basis for the form of the objection. | 19

MR. STERN: | disagree. | 20
MR. SCHEUERMAN: Can we bring him back21

in? | 22
MR. STERN: What's your -- | 23
MR. SCHEUERMAN: You can ask him 24

anything you want. 25

 

 

saying objection to the form.

MR. SCHEUERMAN: I will make the
objections as I see fit and interpret the
rules.

 

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MR. STERN: You can make any objections
you want. But if they are outside the bounds
of the guidelines then it's not proper.
Let's take a five-minute break.
(Whereupon there was a recess in the
proceedings from 12:07 to 12:09 p.m.)
BY MR. STERN:
Q. Is there someone at HRRG who is in
charge of the management of this lawsuit? |
A. Yes. Me.
Q. Is there anyone that you have to report
to with respect to the management of this case?
A. No. |
Q. What I understood in your response to |
my question about whether ARS is named in the
contract between HRRG and Genesis, I was left with |
the impression that ARS is not all of HRRG. Is
ARS -- is referring to ARS refer to HRRG as the
entire company?
A. No.
Q. What does ARS do that the rest of HRRG |
does not do? |
A. ARS performs collection services
related to more severely delinquent accounts,
older accounts than the accounts HRRG collects

19 (Pages 70 - 73)

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- David Friedlander -

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for.
Q. Are the employees of HRRG -- excuse me, |
withdrawn.

Are the employees of ARS separate and
distinct from employees of HRRG?

A. Yes.

Q. Does ARS occupy space that is separate
and apart from space occupied by HRRG? And by
"space," I mean like office space where it
conducts its business.

A. Yes. It’s contiguous space. It's in
the same building and area within the building,
but it is not -- it's a separate space.

Q. And it has its own structure of
hierarchy of management? |

A. Yes.

Q. You are president of HRRG; correct?

A. Yes.

Q. And so that includes HRRG of which part
of that is ARS? |

A. Yes.

Q. I would assume that there are multiple
ways to measure the size of a debt collection
business; by that, just for instance, number of
accounts. total of balances that are due on

 

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accounts, total amount that's actually collected
at any given period. Would you agree those are
different ways that one could measure the size of
a debt collection business?

A. Yes.

Q. Okay. Is there a way to measure the
size of the business that ARS does compared to the
remainder of what HRRG does?

A. Yes.

Q. How would you do that?

A. There's a separation of accounts that
are placed in collections with HRRG as opposed to
the accounts placed with ARS. So the results of
the two business units could be measured
separately based on the placement of those
accounts. |

Q. Are they, in fact, measured separately? |

A. Yes.

Q. Do you know -- can you relate either by
way of percentages or fractions of how much
overall HRRG's business is ARS's business?

A. Yes, 1 could estimate. It would be a
very rough estimate.

Q. Ifyou -- with that understanding, what
would that estimate be?

 

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A. I would estimate ARS to be about a
third the size of HRRG.

Q. And if you wanted to know more
specifically or a more accurate number, what would
you look at? Are there documents, records, or
reports that you could look at to get a more
accurate number?

A. Yes. |

Q. What are those documents that you would
look at?

A. They would -- there are multiple
documents that would house that information, but
the financials.

Q. How often are the financials prepared?

A. They are updated monthly. There are
separate reports that are run each month end.

Q. So you could take -- for any given
month you could take the reports for that month
and have a fairly accurate number of what
percentage of HRRG's business is ARS?

A. Yes.

Q. And when you are roughly estimating a
third, month to month would -- you know, to what
extent do you think that would vary off of that
rough estimate, or would it stay pretty much in

 

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that range?

A. It would stay pretty much in that
range.

Q. So it doesn't fluctuate that much? It
doesn't fluctuate greatly?

A. No.

Q. Obviously "greatly" is a loose term,
but okay.

Are all of the accounts that ARS
attempts to collect accounts that are transferred
from the other side of HRRG's business?

A. I'm not sure. Could you explain what
you mean by "the other side of HRRG's business"?

Q. Sure. From what I understood from your |
testimony is that ARS addresses the more severely
delinquent accounts; is that a fair statement?

A. Yes.

Q. Do accounts get placed directly with
ARS or do they get placed with HRRG, and then once
the account is evaluated for the severity of their
delinquency then the more severe ones are placed |
with ARS?

A. The accounts are first placed with
HARRG.

Q. Because they are not delinquent yet?

20 (Pages 74 - 77)

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1 A. There were two. 1 specifically that.
2 Q. So one on the HRRG side and one on the | 2 Q. Okay.
3 ARS side? 3 MR. STERN: Pass the witness. Do you
4 A. No, two on the HRRG side. 4 have questions?
5 Q. Okay. And they handle -- that includes 5 MR. SCHEUERMAN: J have a couple follow
6 both formal complaints that they get served? 6 ups.
7 A. Yes. They are handling complaints that 7 BY MR. STERN:
8 come in the mail and complaints that come through 8  Q. David, there are instances in which
9 the CFPB or the Better Business Bureau complaints. | 9 debt collector representatives from the ARS wing
10 Q. But any complaints about your conduct? 10 of the company have phone communications with
11 A. Yeah. Nonlegal complaints. 11 consumers, yes or no?
12 Q. Okay. 12 A. Yes.
13. A. Legal complaints are treated | 13 Q. And do you classify those people as --
14 differently. | 14 what do you call them, agents, debt collectors?
15 Q. How are legal complaints handled? 15 A. I call them agents or representatives.
16 <A. Those are sent to the paralegal I |16 Q. Okay. And if you know, how -- when
17 mentioned, Kim Durr, and she handles them. She 17 there's an actual phone conversation, how are
18 notifies the appropriate people that there was a 18 those people trained to identify Account
19 legal complaint received. She notifies our errors 19 Resolution Services on the telephone?
20 and omissions insurance carrier. 20 A. They are trained to use ARS.
21 Q. Okay. If you wanted to find out if 21 Q. Again, this is just during phone calls.
| 22 anyone has made a complaint about the phone (22 What's the reason behind during a phone call just
23 messages saying just the standing alone ARS, how | 23: using ARS?
/24 would you find that out? | 24 A. They are talking to consumers and
| 25 MR. SCHEUERMAN: You are talking | 25 potentially non-consumers, so potentially people
| Page 175 Page 177
| l informal complaint, or pleading, a lawsuit? 1 who don't have accounts in collections. And using
2 MR. STERN: I'm talking about both. | 2 ARS doesn't disclose the nature of the call until
| 3. All of them. 3 we have had a chance to identify that we are
4 A. I would go probably through Kim Durr 4 speaking with an actual debtor.
5 and ask her to look to see. 5 Q. Okay. The telephone message that's
6 Q. And have you done that in this case? | 6 referenced in D-4, you were asked by counsel when
7 Let me withdraw that. Don't answer that yet. | 7 you first started using it. You weren't able --
8 Are you aware of any complaints, formal 8 were not able to give a specific date. But do you
9 or otherwise, that have raised the claims that are 9 have an approximation when that message was --
10 raised in this case? | 10 when the company started using that message?
1] A. No. 11 A. I could tell you approximately in -- I
| 12. Q. Have you asked Kim Durr about whether 12 think it's the message that we started using when
13 there are -- have been other cases? 13 we first started calling on behalf of ARS.
114 MR. SCHEUERMAN: I'm going to object. 14 Q. Okay. When was that?
15 Kim Durr is a paralegal. She works for a 15. A. Around 2009.
16 corporate attorney. So to the extent you are 16 Q. Okay. So you referenced -- when you
17 getting into what conversations you had, | 17 were talking about the vendor Genesis, you said
18 _ that's protected by attorney-client '18 something that they do speech analytics software.
19 privilege. 19 What exactly is that? Can you explain that to me?
| 20 MR. STERN: I haven't asked what she |20 A. Itis software that is able to use
21 said. 1 asked if he has made the inquiry, | 21 speech recognition and can analyze large volumes
|22 that's all I -- 22 of call conversations and put them into -- store
23 MR. SCHEUERMAN: You can ask that. But| 23 them in electronic file folders that can be
24 ‘just so everyone is clear. 24 brought up through queries that we can --
A. I don't think I've asked Kim Durr 25 Q. That --

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- David Friedlander -
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A. So it makes the conversations more 1 electronic and stored in directories that are |
useable for training, quality assurance, and 2 accessible to staff.
finding particular topics within the calls -- 3 Q. Just to be clear, when we are talking
within the call recordings. 4 about agents, are we talking about only the agents

Q. Do you have a quality control program 5 that work for the ARS business unit use those
where executives in the HRRG company listen to 6 terms, correct; in other words, used the term ARS
past recorded calls from agents? 7 in their phone calls?

A. Yes. | 8 A. Yes. I'm talking specifically about |

Q. Have you ever taken part in listening | 9 agents working on behalf of ARS. |
to any past recorded calls relating to calls made 10 Q. Okay. And the agents that -- the other
on behalf of ARS debts? 11 agents who work for HRRG don't refer to ARS at

A. Yes.

Q. Okay. What name is typically used by
those agents on the telephone when referring to
Account Resolution Services?

A. They refer to it commonly as ARS.

Q. Then you were asked a couple of times
with certain vendors -- strike that.

MR. SCHEUERMAN: I have nothing
further. |
MR. STERN: I have some follow-up

things that your counsel asked you about.

BY MR. STERN: |

Q. If] understood, you said that the

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all; correct? Rephrase that. Do they refer to
ARS -- withdrawn.

Do the agents employed by HRRG who are
not working for ARS receive any training on using
either ARS or ARS Account Resolution Services in
their telephone communications with consumers?

A. No.

Q. Were you involved in the creation or
approval of the script that was used to create the
message that was involved here?

A. Yes.

Q. What role -- you were not president at

 

| 24 the time, right? Correct?

 

 

full name ARS Account Resolution Services anytime?

A. Typically not. They use ARS for the |
most part.

Q. Are there training manuals that govern
what this issue -- or training materials I should
say. I don't want to limit it to manuals. Any
kind of written materials about what name is to be
used in telephone conversations?

A. There are. There are memos that are
used, there are materials they access that are

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agents are trained that when they are involved in 25 MR. SCHEUERMAN: I'm sorry. What --
Page 179 |

a live cal] that they just use ARS until they know | 1 objection to form. Do you want me to have
they are actually speaking with the debtor; is 2 him go out? It's one word I'm going to use.
that -- did ] understand your testimony? 1s that 3 MR. STERN: I'll rephrase the question.
your testimony? 4 MR. SCHEUERMAN: Thank you.

A. Yes. 5 BY MR. STERN:

Q. Once they -- | think earlier we talked | 6 Q. I think you testified in response to
about -- when I was asking you. I think you | 7 your counsel's question that the message that was
talked about a term you used was "right person." 8 used here was a message that started being used in

A. Yes. 9 2009; is that correct?

Q. Same meaning, right, the debtor? 10 A. Yes.

A. Right party identification. 11 Q. I thought you testified you had been

Q. That's right, you said right party not 12 president for six years? |
right person. 13. A. 2013 I think I became president. |

Once the agent determines that they are 14 Q. So the last six years. And prior to |

speaking to the right party, do they mention the | 15 that you were vice-president. So you were

vice-president at the time that the message was
started to be used?

A. Yes.

Q. So what role did you play with respect |
to either the development or approval of the
message?

A. I worked with the assistant
vice-presidents in creating the message.

Q. Who else was involved in creating the
message?

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